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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


Julie Coolidge                                       Case No.

          Plaintiff                            COMPLAINT
v.

Reliance Standard Life Insurance Company

        Defendant

Plaintiff, Julie Coolidge, for her Complaint against Defendant, Reliance Standard

Life Insurance Company, states as follows:

        1.     Ms. Coolidge is an individual who resides in Cumberland County,

Maine and who at all pertinent times participated in a Long-Term disability plan

(the “Plan”), sponsored by the Group Policyholder: Community Concepts, Inc.

(“Group Policyholder”).

        2.     The Plan is funded, in part, through a group insurance policy (the

“Policy”) Reliance Standard Life Insurance Company sold to the Group

Policyholder, for whom Ms. Coolidge worked as a Community Support Specialist

since November 9, 2009 until her total disability on November 15, 2019.

        3.     Reliance Standard Life Insurance Company is a foreign company

authorized to transact business in Maine.

        4.     Reliance Standard Life Insurance Company acts as the plan

administrator and/or fiduciary of the Plan for purposes of benefit determinations

made pursuant to the Plan and Policy.
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       5.    Ms. Coolidge brings this action under the Employee Retirement Income

Security Act (“ERISA”) 502(a)(1)(B), 29 U.S.C. 1132(a)(1)(B), to recover benefits

under the Plan and Policy.

       6.    This Court has subject matter jurisdiction over this action, and it may

assert personal jurisdiction over Reliance Standard Life Insurance Company

because, per ERISA 502(e), 29 U.S.C. 1132(e)(2), Reliance Standard Life Insurance

Company undertook to insure an ERISA plan that affected participants living in

Maine.

                                      Claim for Relief

       7.    The Plan provides for short and long-term disability coverage for certain

employees of Community Concepts, Inc., including Ms. Coolidge.

       8.    The Policy defines total disability, in relevant part, as follows:


“…DEFINITION OF DISABILITY
"Totally Disabled" and "Total Disability" mean, that as a result of an Injury or
Sickness:

1) during the Elimination Period and for the first 24 months for which a Monthly
Benefit is payable, an Insured cannot perform the material duties of his/her
Regular Occupation….”

      9.     As stated above, Ms. Coolidge worked for Community Concepts, Inc.,

until on November 15, 2019, at which time she discontinued work due to neck pain,

dizziness, fatigue, headaches, syncopal episodes, photophobia and phonophobia and

Post-Concussive Syndrome after a motor vehicle accident during which she was a

passenger.
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         10.   Ms. Coolidge became disabled under the Policy on or about November

15, 2019 and has remained continuously disabled since then.

         11.   Ms. Coolidge filed a claim for long disability benefits, which was

terminated as Reliance Standard Life Insurance Company determined Ms. Coolidge

did not meet the definition of disability beyond November 13, 2020.

         12.   Reliance Standard Life Insurance Company’s termination letter dated

November 11, 2020 noted Ms. Coolidge’s medical evidence was insufficient in

supporting any further impairment.

         13.   Although Ms. Coolidge continued with neck pain, dizziness, fatigue,

headaches, syncopal episodes, photophobia and phonophobia and Post-Concussive

Syndrome, Reliance Standard Life Insurance Company terminated Ms. Coolidge’s

claim.

         14.   Reliance Standard Life Insurance Company decision violated ERISA’s

claims regulation(s) and prevented Ms. Coolidge from a full and fair review on his

administrative claim.

         15.   By letter, June 10, 2021, by undersigned counsel, Ms. Coolidge timely

appealed the LTD determination by Reliance Standard Life Insurance Company.

The appeal included medical records from Dr. Burke, St. Mary’s Neurology,

Stephen’s Memorial Hospital, Dr. Denise Cogle, and testing. The medical records

noted Ms. Coolidge’s continued impairment.
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            Reliance Standard        1 Filed Company
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                                                      acknowledged Ms. #: 4

Coolidge’s appeal by letter dated June 29, 2021 received on July 6, 2021.

      17.    Reliance Standard Life Insurance Company has neglected to complete

the appeal review and has refused to render a timely appeal decision despite our

instruction of the same.

      18.    Reliance has been reviewing Ms. Coolidge’s appeal for 101 days

without rendering a determination.

      19.    Ms. Coolidge exhausted her administrative remedies under the Policy

and Plan. And further exhaustion would be futile.

      20.    Reliance Standard Life Insurance Company is in violation ERISA

claims regulations, 29 C.F.R. 2560.503-1, in multiple respects.

      21.    As a result of the foregoing, Ms. Coolidge has suffered a loss in the

form of unpaid benefits.

      22.    Ms. Coolidge is entitled to a judgment against Reliance Standard Life

Insurance Company in the amount of the unpaid long-term disability benefits under

the Policy and Plan.

      23.    Ms. Coolidge is entitled to have her benefits reinstated.

      24.    Ms. Coolidge is also entitled to prejudgment interest and an award of

attorney’s fees under ERISA 502(g) in an amount to be proven.

      WHEREFORE, Plaintiff Ms. Coolidge, requests the Court grant her the

following relief from Defendant Reliance Standard Life Insurance Company:

      a.     A judgment in the amount of all benefits due under the Plan/Policy plus

prejudgment interest;
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            Her costs and attorney’s 1 Filed 10/08/21
                                         under ERISA Page  5 of
                                                      502(g);   5 PageID #: 5
                                                              and

     c.    All other relief the Court may deem proper.

Dated: 10.08.2021

                                          /s/ Andrew S. Davis

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